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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


IN RE:                                    )
                                          )
DANA MARIE PEOPLES,                       )                     CASE NO. 24-10854-KHK
                                          )                     CHAPTER 7
                  Debtor.                 )
__________________________________________)
                                          )
DANA MARIE PEOPLES,                       )
                                          )
                  Plaintiff,              )
                                          )
            v.                            )                     ADV. PROC. NO. 24-01041-KHK
                                          )
U.S. DEPARTMENT OF EDUCATION, et al.      )
                                          )
                  Defendants.             )

     CONSENT MOTION TO DISMISS AND FOR ENTRY OF ORDER DISCHARGING
          STUDENT LOANS AND MEMORANDUM IN SUPPORT THEREOF

         The United States of America, on behalf of the U.S. Department of Education (DoE),

requests that the Court enter an order dismissing this adversary proceeding and discharging the

Plaintiff’s student loans owed to DoE pursuant to the provisions of 11 U.S.C. § 523(a)(8).

Counsel for the United States has discussed the relief requested in this motion with the Plaintiff

who consents to such relief. As grounds for this Motion, the United States avers the following:




Matthew J. Troy
Assistant United States Attorney
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Counsel for the United States of America
Appearing pursuant to 28 U.S.C. § 517
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       1.      Plaintiff filed a complaint in this adversary proceeding on August 13, 2024, Dkt.

No. 1, seeking to discharge certain student loan obligations owed to DoE. Plaintiff asserts that

requiring her to repay these obligations would constitute an undue hardship pursuant to 11

U.S.C. § 523(a)(8). Plaintiff seeks to discharge these obligations pursuant to 11 U.S.C. §

523(a)(8).

       2.      Pursuant to the Guidance (“Guidance”) regarding requests to discharge student

loans in bankruptcy cases issued November 15, 2022, by the Department of Justice, in

coordination with DoE, Plaintiff completed an Attestation, as described in the Guidance, under

penalty of perjury.

       3.      The Attestation provided by Plaintiff to the United States demonstrates that she is

entitled to a hardship discharge of her student loans under the criteria set forth in the Guidance.

       4.      In 2012, Plaintiff entered into loan agreements with the DoE for two student loans

as identified in the attached Exhibit 1.

       5.      As of February 5, 2025, the total owed under the loans identified in Exhibit 1,

inclusive of interest, is $11,742.22 (Subject Debt).

       6.      The United States agrees that the Plaintiff is entitled to a hardship discharge of the

Subject Debt. The parties have executed a proposed Consent Order that accompanies this

Motion.

                                           CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this Motion be

granted.

Dated: February 25, 2025


                                                  2
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                               Respectfully submitted,

                               ERIK S. SIEBERT
                               UNITED STATES ATTORNEY

                       By:     /s/ Matthew J. Troy
                               Matthew J. Troy
                               Assistant United States Attorney




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                              EXHIBIT 1
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                              U. S. DEPARTMENT OF EDUCATION
                                 SAN FRANCISCO, CALIFORNIA

                           CERTIFICATE OF INDEBTEDNESS #1 OF 1

                                                             Dana People
                                                             Adv. No. 24-01041
                                                             SSN: xxx-xx-9881

   I certify that Department of Education records show that the borrower named above is indebted to
   the United States in the amount stated below as of 02/05/2025:

                                            DIRECT LOANS

     Loan #         Disb. Date         Int Rate     Prin. Due         Int. Due           Total Due
        8           09/17/2012            6.8       $7,328.12         $894.98            $8,223.10
        7           09/17/2012            3.4       $3,378.69         $140.43            $3,519.12

   The Direct loans were made by the Department under the William D. Ford Federal Direct Loan
   Program under Title IV, Part D of the Higher Education Act of 1965, as amended, 20 U.S.C. 1087a
   et seq. (34 C.F.R. Part 685).

   The borrower now owes $10,706.81 worth of principal and $1,035.41 worth of interest as of
   02/05/2025. Grand Total is: $11,742.22

   Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
   correct.

   Executed on: ______2/20/2025____                         ________________________
                                                                   Emory Newman
                                                           Management and Program Analyst
                                                                 Litigation Support
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                                      CERTIFICATE OF SERVICE

        I hereby certify a copy of foregoing will be filed with the United States Bankruptcy Court
electronically in the CM/ECF system. Notice of this filing will be sent to all parties by operation
of the Court's electronic filing system. Parties may access this filing through the Court's system.

Date: February 25, 2025

                                      /s/ Matthew J. Troy
                                      Matthew J. Troy
